                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF WISCONSIN
                               MILWAUKEE DIVISION

MICHAEL F. KLEPPIN, Individually and on              ) Case No.: 13-cv-1060
Behalf of All Others Similarly Situated,             )
                                                     ) CLASS ACTION COMPLAINT
                                                     )
                Plaintiff,                           )
       vs.                                           )
                                                     ) Jury Trial Demanded
INTEGRITY FINANCIAL PARTNERS, INC.,                  )
                                                     )
                                                     )
                Defendant.                           )

                                        INTRODUCTION
       1.       This class action seeks redress for collection practices that violate the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq. (the “FDCPA”). Specifically, the FDCPA

requires a debt collector to provide a consumer with accurate, written notice of the consumer’s

right to receive verification of the alleged debt, and that only a dispute of the debt in writing will

trigger the consumer’s verification rights. 15 U.S.C. § 1692g(a)(4). Defendant’s debt collection

letter omitted the portion of the § 1692g(a)(4) notice that informs the consumer that the

verification rights are triggered by a dispute of the debt. Defendant’s language changes the

meaning of the notice, telling the consumer to specifically ask for verification instead of

notifying the debt collector of a dispute. To impose such an extra-statutory burden on the

consumer violates the FDCPA. Miller v. Payco-General Am. Credits, Inc., 943 F.2d 482, 484

(4th Cir. 1991); Flowers v. Accelerated Bureau of Collections, No. 96 C 4003, 1997 U.S. Dist.

LEXIS 6070, 1997 WL 224987 (N.D. Ill. Apr. 29, 1997) (“The purpose of the debt validation

provision is ‘to guarantee that consumers [will] receive adequate notice of their legal rights.’”)

(citing Payco). Just as when a debt collector omits the writing requirement from its § 1692g(a)(4)

notice, Defendant’s failure to include language stating that the consumer must dispute the debt in

writing to invoke his or her verification rights violates the FDCPA. See McCabe v. Crawford &




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Co., 272 F. Supp. 2d 736, 743 (N.D. Ill. 2003) (“Section 1692g(a) dictates that the debt collector

shall send the consumer a written notice stating that upon written notification of a dispute,

verification must be provided by the debt collector.”) (emphasis added).

                                 JURISDICTION AND VENUE

       2.       The court has jurisdiction to grant the relief sought by the Plaintiff pursuant to 15

U.S.C. § 1692k and 28 U.S.C. §§ 1331 and 1337. Venue in this District is proper in that

Defendant directed its collection efforts into the District.

                                             PARTIES

       3.       Plaintiff Michael F. Kleppin is an individual who resides in the Eastern District of

Wisconsin (Milwaukee County).

       4.       Plaintiff is a “consumer” as defined in the FDCPA, 15 U.S.C. § 1692a(3), in that

Defendant sought to collect from him a debt allegedly incurred for personal, family or household

purposes.

       5.       Defendant Integrity Financial Partners, Inc. (“Integrity”) is a foreign corporation

with its principal place of business located at 4370 West 109th Street, Suite 100, Overland Park,

Kansas 66211.

       6.       Integrity is engaged in the business of a collection agency, using the mails and

telephone to collect consumer debts originally owed to others.

       7.       Integrity is engaged in the business of collecting debts owed to others and

incurred for personal, family or household purposes. Integrity is a debt collector as defined in 15

U.S.C. § 1692a.

                                               FACTS




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       8.       On or about September 25, 2012, Integrity mailed a debt collection letter to

Plaintiff regarding an alleged debt, allegedly owed to “Sallie Mae”. A copy of this letter is

attached to this complaint as Exhibit A.

       9.       Upon information and belief, Exhibit A was the first letter Plaintiff was sent by

Integrity regarding this alleged debt.

       10.      Upon information and belief, Exhibit A is a form letter, generated by computer,

and with the information specific to Plaintiff inserted by computer.

       11.      Upon information and belief, Exhibit A is a form, initial communication, debt

collection letter used by Integrity to attempt to collect alleged debts.

       12.      Exhibit A contains the following text:

                Unless you notify this office within 30 days after receiving this notice that
                you dispute the validity of this debt or any portion thereof, this office will
                assume this debt is valid. If you notify this office in writing within 30 days
                from receiving this notice, this office will: obtain verification of the debt
                or obtain a copy of a judgment and mail you a copy of such judgment or
                verification.

                             VIOLATIONS OF THE FDCPA
       13.      The text in Integrity’s letter to Plaintiff is inconsistent with 15 U.S.C. §

1692g(a)(4), which states:

                (a) Notice of debt; contents
                Within five days after the initial communication with a consumer in
                connection with the collection of any debt, a debt collector shall, unless
                the following information is contained in the initial communication or the
                consumer has paid the debt, send the consumer a written notice
                containing—

                (4) a statement that if the consumer notifies the debt collector in writing
                within the thirty-day period that the debt, or any portion thereof, is
                disputed, the debt collector will obtain verification of the debt or a copy of
                a judgment against the consumer and a copy of such verification or
                judgment will be mailed to the consumer by the debt collector;



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(emphasis added).

        14.      The language in Integrity’s letter purports to require the consumer to request

verification of the debt, when the plain language of the statute requires a consumer to dispute the

debt in order to trigger 15 U.S.C. § 1692g(a)(4).

        15.      Integrity’s misrepresentation is a material false statement because it misleads the

unsophisticated consumer about the consumer’s rights and how a consumer exercises those

rights. See Hahn v. Triumph P’ships LLC, 557 F.3d 755, 757-58 (7th Cir. 2009).

        16.      15 U.S.C. § 1692g(b) makes clear that a written dispute, and not specifically a

written request for verification, triggers the statute:

                 (b) Disputed debts
                 If the consumer notifies the debt collector in writing within the thirty-day
                 period described in subsection (a) of this section that the debt, or any
                 portion thereof, is disputed, or that the consumer requests the name and
                 address of the original creditor, the debt collector shall cease collection of
                 the debt, or any disputed portion thereof, until the debt collector obtains
                 verification of the debt or a copy of a judgment, or the name and address
                 of the original creditor, and a copy of such verification or judgment, or
                 name and address of the original creditor, is mailed to the consumer by the
                 debt collector. Collection activities and communications that do not
                 otherwise violate this subchapter may continue during the 30-day period
                 referred to in subsection (a) unless the consumer has notified the debt
                 collector in writing that the debt, or any portion of the debt, is disputed or
                 that the consumer requests the name and address of the original creditor.
                 Any collection activities and communication during the 30-day period
                 may not overshadow or be inconsistent with the disclosure of the
                 consumer’s right to dispute the debt or request the name and address of the
                 original creditor.

        17.      The Seventh Circuit has also provided debt collectors with “safe harbor” language

to avoid FDCPA liability for 1692g(a)(4) notices. Bartlett v. Heibl, 128 F.3d 497, 501-502 (7th

Cir. 1997). The safe harbor language also makes clear that a dispute of the debt is necessary to

trigger the consumer’s debt verification rights:




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                Federal law gives you thirty days after you receive this letter to dispute the
                validity of the debt or any part of it. If you don't dispute it within that
                period, I'll assume that it's valid. If you do dispute it--by notifying me in
                writing to that effect--I will, as required by the law, obtain and mail to you
                proof of the debt. And if, within the same period, you request in writing
                the name and address of your original creditor, if the original creditor is
                different from the current creditor (Micard Services), I will furnish you
                with that information too.

Id. (emphasis added).

       18.      A request for verification of a debt is not the same as disputing the debt.

Defendant’s language purports to request more of the consumer to exercise his § 1692g(b) rights

than the statute requires. 15 U.S.C. § 1692g(a)(4).

       19.      Similar conduct to Defendant’s, i.e. sending a consumer faulty instructions in the

§ 1692g notice, has been repeatedly found to violate the FDCPA. McCabe, 272 F. Supp. 2d at

743 (holding that failure to include "in writing" requirement violated § 1692g(a)(4)) (emphasis

added); Bicking v. Law Offices of Rubenstein & Cogan, 783 F. Supp. 2d 841, 845 (E.D. Va.

2011) (same); Welker v. Law Office of Daniel J. Horwitz, 699 F. Supp. 2d 1164, 1170 (S.D. Cal.

2010) (same); Beasley v. Sessoms & Rogers, P.A., No. 5:09-CV-43-D, 2010 U.S. Dist. LEXIS

52010, at *18-19 (E.D.N.C. Mar. 1, 2010) (same); Nero v. Law Office of Sam Streeter, P.L.L.C.,

655 F. Supp. 2d 200, 206 (E.D.N.Y. 2009) (same); Chan v. N. Am. Collectors, Inc., No. C 06-

0016 JL, 2006 U.S. Dist. LEXIS 13353, at *16 (N.D. Cal. Mar. 24, 2006) (same); McCabe v.

Crawford & Co., 272 F. Supp. 2d 736, 743 (N.D. Ill. 2003) (same); Grief v. Wilson, Elser,

Moskowitz, Edelman & Dicker, LLP, 217 F. Supp. 2d 336, 340 (E.D.N.Y. 2002) (reaching the

same conclusion with respect to subsections (a)(4) and (5)); see also Camacho v. Bridgeport

Fin., Inc., 430 F.3d 1078, 1081 (9th Cir. 2005) (“The plain meaning of § 1692g is that debtors

can trigger the rights under subsection (a)(3) by either an oral or written "dispute," while debtors

can trigger the rights under subsections (a)(4) and (a)(5) only through written dispute.”).

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                                       COUNT I – FDCPA

       20.      Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in the preceding paragraphs of this Complaint.

       21.      The language in Integrity’s letter is false, misleading and confusing to the

unsophisticated consumer, in that the language in the letter tells the consumer to request

verification of the debt, when the plain language of the statute only requires a consumer to

communicate a dispute in order to trigger 15 U.S.C. § 1692g(a)(4).

       22.      Integrity’s misrepresentation is a material false statement. The language places a

burden upon the unsophisticated consumer that is greater than the statute permits. The purpose

and result is to discourage consumers from invoking his or her rights under 15 U.S.C. §

1692g(b).

       23.      Defendant has failed to comply with the debt validation notice requirements

pursuant to 15 U.S.C. § 1692g(a)(4).

       24.      The Defendant has therefore violated 15 U.S.C. §§ 1692g(a) and 1692g(a)(4).

                                       COUNT II – FDCPA

       25.      Plaintiff incorporates by reference as if fully set forth herein the allegations

contained in the preceding paragraphs of this Complaint.

       26.      Defendant’s omission of the portion of the notice required by 15 U.S.C. §

1692g(a)(4) that requires a dispute of the debt to trigger 15 U.S.C. §§ 1692g(a)(4) and 1692g(b)

is a false representation or deceptive means to collect or attempt to collect any debt.

       27.      The Defendant has therefore violated 15 U.S.C. §§ 1692e and 1692e(10).

                                    CLASS ALLEGATIONS

       28.      Plaintiff brings this action on behalf of a Class, consisting of (a) all natural

persons in the State of Wisconsin (b) who were sent a collection letter in the form represented by

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Exhibit A, (c) seeking to collect a debt for personal, family or household purposes, (d) on or after

September 20, 2012, (e) that was not returned by the postal service.

       29.      The Class is so numerous that joinder is impracticable. On information and

belief, there are more than 50 members of the Class.

       30.      There are questions of law and fact common to the members of the class, which

common questions predominate over any questions that affect only individual class members.

The predominant common question is whether the Defendant complied with 15 U.S.C. §§

1692g(a) and 1692e.

       31.      Plaintiff’s claims are typical of the claims of the Class members. All are based on

the same factual and legal theories.

       32.      Plaintiff will fairly and adequately represent the interests of the Class members.

Plaintiff has retained counsel experienced in consumer credit and debt collection abuse cases.

       33.      A class action is superior to other alternative methods of adjudicating this dispute.

Individual cases are not economically feasible.

                                         JURY DEMAND

       34.      Plaintiff hereby demands a trial by jury.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

the Class and against Defendant for:

       (a)      actual damages;

       (b)      statutory damages;

       (c)      attorneys’ fees, litigation expenses and costs of suit; and

       (d)      such other or further relief as the Court deems proper.



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Dated: September 20, 2013


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